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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 21-cv-61163-ALTMAN/Hunt

  ERRON WILLIAMS,

        Plaintiff,
  v.

  HEALTHCARE REVENUE
  RECOVERY GROUP, LLC,

        Defendant.
  ________________________________/

                                                ORDER

        The Court held a status conference on November 3, 2021. For the reasons stated on the

  record, the Court hereby ORDERS AND ADJUDGES as follows:

        1. The Defendant’s Motion for Judgment on the Pleadings [ECF No. 37] is DENIED.

        2. By November 5, 2021, the parties shall conduct a one-hour informal settlement conference. The

             parties are not required to attend personally, so long as the parties are available by phone

             to give final authorization should counsel near a settlement. By the same date, the parties

             shall file a Notice of Settlement (or Non-Settlement) on the docket, which shall indicate

             the following: (a) whether the parties have complied with this Order; (b) whether the

             parties have settled this case on the merits; and (c) whether the parties have settled as to

             attorneys’ fees and costs.

        DONE AND ORDERED in Fort Lauderdale, Florida this 3rd day of November 2021.




                                                           __________________________________
                                                           ROY K. ALTMAN
                                                           UNITED STATES DISTRICT JUDGE

  cc:   counsel of record
